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                           Exhibit 5
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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

NATIONAL FAIR HOUSING ALLIANCE et al.,         )
                                               )
            Plaintiffs,                        )
                                               ) Case No. 1:18-cv-00839
      v.                                       )
                                               ) Honorable Harry Leinenweber
DEUTSCHE BANK NATIONAL TRUST                   )
COMPANY, AS TRUSTEE; DEUTSCHE BANK             ) Magistrate Judge Sidney I. Schenkier
TRUST COMPANY AMERICAS, AS TRUSTEE;            )
OCWEN FINANCIAL CORP.; and ALTISOURCE          )
PORTFOLIO SOLUTIONS, INC.,                     )
                                               )
            Defendants.                        )

                          EXPERT REPORT OF EVE KAPLAN
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1.   INTRODUCTION

           1.1   I have worked in the corporate trust field for more than 33 years. Most

                 recently, for 15 years, I was a Senior Vice President in the Global

                 Corporate Trust Services division of U.S. Bank National Association

                 (“U.S. Bank”). I have been retained as an expert witness in this matter by

                 Morgan, Lewis & Bockius LLP, counsel for Deutsche Bank National Trust

                 Company (“DBNTC”), as trustee, and Deutsche Bank Trust Company

                 Americas (“DBTCA”), as trustee (in such capacities and collectively, the

                 “Trustees”), in connection with a lawsuit that more than a dozen fair

                 housing organizations, including National Fair Housing Alliance

                 (collectively, “Plaintiffs”), filed against the Trustees (the “Lawsuit”).

           1.2   In their complaint, Plaintiffs allege that, as “owners” of real estate owned

                 (“REO”) properties held in the residential mortgage-backed securitization

                 (“RMBS”) trusts at issue in the Lawsuit (the “Trusts”), the Trustees were

                 responsible for servicing (i.e., performance of property maintenance and

                 marketing services) those properties and that the Trustees abdicated legal

                 obligations (a) “without appropriate investigation or assessment of the

                 fitness or ability of the retained third parties” to comply with Fair Housing

                 Act obligations and (b) “without guidance, oversight or review of the

                 activities left to the discretion of retained third parties.” Second Amended

                 Complaint, ¶¶149-150. Plaintiffs assert that the “Deutsche Bank

                 Defendants engaged in a pattern and practice of discrimination in

                 maintaining and marketing REO properties that are located in white

                 communities more favorably than similar REO properties located in
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                 predominantly African-American and Latino neighborhoods in the same

                 metropolitan area.” Second Amended Complaint, ¶35. Plaintiffs alleged

                 that “Defendant Ocwen Loan Servicing, LLC (‘Ocwen’) and Altisource

                 Solutions, Inc. (‘Altisource’) provide property preservation and

                 maintenance and other services for REO properties owned by” the

                 Trustees, id. at ¶ 3, while activities of other servicers “were de minimis,”

                 id. at ¶ 64, and I understand that the lawsuit has been focused on those

                 properties that are serviced by Ocwen.

           1.3   I have been asked by the Trustees’ counsel to offer my opinions relating to

                 custom and practice of trustees in administering RMBS trusts and how

                 trustees perform their responsibilities and interact with other transaction

                 parties. The Trustees’ counsel also asked me to (1) review the expert

                 reports of Deavey Tyler and Pamela Kisch, and (2) offer my opinions in

                 response to the opinions set forth in those expert reports.

           1.4   In preparing this Report, I have relied on my general knowledge, training,

                 broad experience, and other expertise. I have also considered the

                 documents that appear in Exhibit A. My work on this matter is ongoing,

                 and I may review additional materials and/or update, refine, or revise my

                 opinions.

           1.5   I understand that Plaintiffs identified certain Trusts during their depositions

                 of the Trustees’ witnesses and/or in opposition to the Trustees’ motions to

                 dismiss the Lawsuit. The Trustees’ counsel provided to me certain

                 agreements governing those Trusts and other Trusts (the “Governing



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                 Agreements”), which I reviewed and identified on Exhibit A. In my

                 experience, the types of provisions appearing in RMBS governing

                 agreements are fairly consistent, but can vary in terminology and phrasing.

                 When PSA provisions vary more substantively, that often reflects

                 differences in the responsibilities that the sponsor family allocates to

                 particular deal parties or accounts for other unique features of a given

                 Trust. Where particular language of the Governing Agreements differs

                 substantially from what, in my experience, is common in the RMBS

                 industry, I endeavor to note it in this Report.

           1.6   My services in this litigation include the preparation of this Report and any

                 testimony I might provide at deposition or in court. I am being

                 compensated at an hourly rate of $750, and I receive reimbursement for

                 reasonable expenses such as travel. The compensation for my work in this

                 matter is not contingent upon the nature of my findings or on the outcome

                 of the Lawsuit.

2.   QUALIFICATIONS

           2.1   I have a Bachelor of Arts degree in psychology and a Master’s degree in

                 social work from Washington University in St. Louis.

           2.2   I was employed by U.S. Bank between 1986 and 2021. In 1992, I began

                 working in the Structured Finance Group (now called Global Structured

                 Finance (“GSF”)) in U.S. Bank’s Global Corporate Trust Services

                 (“GCTS”) division. From 1992 through 2006, I served as an account

                 manager and as a team lead for account managers, and I was directly

                 involved in negotiating contractual provisions relating to GSF’s duties and
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                        protections, closing new transactions, overseeing the set-up trust records

                        and accounts, and administering transactions1 across a variety of asset

                        classes, including but not limited to RMBS trusts. From 2007 until June

                        2017, I was a Senior Vice President and head of GSF. In that role, I

                        managed the department that was responsible for all aspects of RMBS

                        administration, for which U.S. Bank served as trustee or indenture trustee,

                        including the receipt and review of servicer compliance reports and the

                        interaction with servicers in connection with the trustee’s performance of

                        its contractual duties. From July 2017 through 2021, I was a Senior Vice

                        President responsible for a GCTS unit that provided support and guidance

                        to GSF on administrative risk issues, acted as business-line lead involving

                        GSF disputes and/or litigation matters, and delivered other specialized

                        services. In that role I worked closely with the GSF managers, U.S. Bank’s

                        Law Division and outside counsel on various matters focused on the role of

                        the trustee.

               2.3      In several of my GSF roles, I was responsible for the review and

                        acceptance of new RMBS transactions. My responsibilities in that role

                        included reviewing new transactions to ensure the contemplated services

                        were consistent with the trustee role and that the proposed fees were

                        customary and appropriate given the scope of the bank’s duties; negotiating

                        contractual provisions affecting the duties and/or performance of the



1
 This included, starting in 2010, responsibility for the unit administering trust waterfalls and producing
monthly reports to securityholders.

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                 trustee’s duties; and establishing and maintaining internal records and

                 controls to support the trustee’s ongoing administration of each trust in

                 accordance with its Governing Agreements.

           2.4   As an account manager, I closed and administered hundreds of diverse

                 transactions before assuming responsibility to lead a team of account

                 managers who administered transactions. In my capacity as team lead and

                 as a GSF executive, I provided guidance on questions or issues that arose in

                 connection with GSF’s administration of the trusts, and I regularly

                 interacted with transaction parties, investors and other market participants

                 related to specific trusts or, more generally, industry practice. In contrast, I

                 almost never interacted with borrowers whose loans were held in the trusts.

           2.5   Following the onset of the mortgage crisis more than a decade ago, in my

                 role as head of GSF, I established a centralized unit, known as Specialized

                 RMBS Services (“SMBS”), in response to increased inquiries, notices, and

                 media coverage involving mortgage loans and REO property for which the

                 bank, as trustee, was the nominal owner. This unit handled loan-level

                 correspondence and inquiries received by GSF as trustee, including

                 interactions with servicers and other external parties.

           2.6   As a senior manager within GCTS, I participated in due diligence and

                 business integration activities in connection with the bank’s consideration

                 of and ultimate acquisition of another institution’s corporate trust business.

                 In this process I was responsible for reviewing the nature and composition

                 of the designated portfolio of securitization transactions under



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                       administration (including RMBS trusts) as well as evaluating the

                       institution’s administrative practices and historical satisfaction of its

                       contractual duties as trustee for those transactions. After the acquisition

                       transaction closed, I was responsible for the transition and integration of

                       staff and processes to administer the acquired trusts on behalf of GCTS in

                       accordance with contractual and regulatory requirements applicable to

                       corporate trustees and U.S. Bank’s trust administration policies,

                       procedures, and practices.

               2.7     For over 15 years I have participated in various trade group activities that

                       implicated the role of a trustee in administering securitization trusts. In

                       particular, I actively participated in the activities of the American Bankers

                       Association’s Corporate Trust Committee (“ABA CTC”)2, the Asset

                       Securitization Forum (“ASF”)3, and the Structured Finance Association

                       (“SFA”)4.

                       2.7.1 As part of the ABA CTC, I led various working groups and

                               initiatives focused on the role of the trustee in securitization

                               transactions and in evaluating regulatory and market developments

                               relevant to the trustee role. I contributed to the drafting of and




2
 The CTC is comprised of representatives from approximately 11 trustee institutions, who are members
of the American Bankers Association.
3
 ASF is an association dedicated to the securitization market to advocate for the common interests of its
diverse members on legal, regulatory, and market practice issues.
4
 SFA is a trade association dedicated to the structured finance industry. SFA’s mission is to help
members and public policymakers grow credit availability and the real economy in a responsible manner.

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                         updates to the ABA CTC’s white paper entitled “The Trustee’s

                         Role in Asset-Backed Securities.”

                  2.7.2 My involvement with ASF and SFA regularly included

                         participation in various committees and working groups focused on

                         topics or issues relevant to the role of a securitization trustee. I also

                         served on SFA’s Board of Directors from 2016 through 2020 and as

                         Co-Chair of its Trustee Committee from 2015 through 2020.

                         Through my participation in these groups, I regularly collaborated

                         with industry colleagues (trustees, servicers, master servicers,

                         sponsors, investors, rating agencies, regulators), which has provided

                         me insight into and greater understanding of the practices of RMBS

                         trustees, the roles of the various transaction parties, and the

                         expectations and understandings of the various RMBS industry

                         participants as to the role of an RMBS trustee.

           2.8    My full resume is attached as Exhibit B to this Report.

3.    SUMMARY OF MY OPINIONS

           3.1    RMBS trustees performing their role in accordance with industry custom

                  and practice perform only the express duties assigned to them under the

                  governing agreements. As a matter of industry custom and practice,

                  trustees understand that their role does not involve any implied duties, and

                  they expect each other deal party to perform the duties assigned to it under

                  the governing agreements. As relevant here, the Trustees focus on

                  performing their assigned trust administration duties, and not participating



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                  in servicing duties that were assigned to servicers, which is consistent with

                  industry custom and practice.

           3.2    RMBS trustees understand, under standard industry custom and practice,

                  that Governing Agreements are drafted to afford the servicer and/or master

                  servicer broad authority and discretion to perform loan servicing functions

                  (including REO maintenance and marketing).

           3.3    Congruent with industry custom and practice, I would not expect the

                  Trustees to direct, monitor or investigate Ocwen’s performance unless

                  directed to do so by investors in the trust who had sufficient holdings and

                  offered indemnity. I would, however, expect the Trustees to cooperate with

                  Ocwen (as they are required to do under typical RMBS governing

                  agreements) to enable Ocwen to perform its duties, and I am not aware of

                  any facts that suggest that the Trustees did not provide the customary level

                  of cooperation.

           3.4    Under industry custom and practice, if a trustee receives inquiries or

                  correspondence relating to loan-level matters (e.g., service of litigation

                  filings, property violations, utility invoices, etc.), the trustee forwards them

                  to the contractual party responsible for servicing the particular loan to

                  handle as the servicer deems appropriate. The Trustees’ practices in this

                  regard appear generally consistent with industry custom and practice of

                  RMBS trustees. Based on my review of the Trustees’ procedures that I

                  received from counsel relating to their handling of loan-level notices and




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                  citations, those policies and procedures appear generally consistent with

                  industry custom and practice.

           3.5    The Trustees’ policies and procedures related to the Trustees’ review of

                  new transactions focus on those provisions governing the Trustees’ duties

                  and protections, and not on issues related to the duties of other deal parties,

                  including loan servicing practices (including to REO maintenance and

                  marketing). This is consistent with industry custom and practice.

           3.6    The Trustees, as is typical, did not have policies setting forth specific

                  action required to be undertaken following an event of default, as each

                  situation is unique and not capable of being accounted for in a standard

                  way. In those situations, trustees typically escalate to management, provide

                  notice to investors, and seek the advice of counsel.

           3.7    Plaintiffs’ experts Deavey Tyler and Pamela Kisch acknowledged that they

                  have no familiarity with RMBS securitization or the role of the RMBS

                  trustee. As a result, they apparently did not appreciate that RMBS trustees

                  act as a nominee with respect to the interest held in an RMBS trust’s

                  property and personally have no economic interest in either the loans or

                  trust. As a result, their conclusions concerning the Trustees, which were

                  based on inaccurate and unfounded assumptions about the Trustees’ role in

                  connection with REO maintenance and marketing or, alternatively,

                  oversight and/or control over Ocwen (or its vendor Altisource), are

                  incorrect.




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4.    OVERVIEW OF A SECURITIZATION STRUCTURE

      A.    Purpose and Structure of a Securitization Transaction

           4.1    The term securitization refers to common financial transactions that play a

                  key role in the capital markets and are a critical source of funding that

                  makes credit available to consumers.

           4.2    From an economic perspective, a securitization transaction enables a lender

                  (or other entity) that holds financial instruments with a future payment

                  stream (such as thousands of mortgage loans) to sell the instruments—and

                  accordingly the right to future payments and all corresponding risk of

                  ownership—to investors. In a simplified version of the mechanics: (i) at the

                  closing of the transaction, the owner of the financial instruments transfers

                  them to a trust in exchange for securities, and (ii) sophisticated investors

                  purchase those securities, which give those investors an undivided interest

                  in the assets held by the trust.

           4.3    Securitization enables lenders to deploy the proceeds from the sale of the

                  securities to originate new loans—i.e., to extend more credit. Borrowers, in

                  turn, have increased access to credit offered by banks and other finance

                  companies, who use securitization as a financing tool for their origination

                  businesses, so that those borrowers can buy a home, finance their

                  educations, purchase a vehicle, and create and support a business. These

                  are just some of the examples illustrating the impact and importance of

                  securitization to the U.S. economy.




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      B.    Parties to a Securitization Transaction

           4.4    At or around the time of closing of the securitization transaction, parties

                  execute agreements that work together and specify the duties and

                  protections of all deal parties. Examples of the core documents relevant to

                  an RMBS include, but are not limited to, the following: Indenture, Pooling

                  and Servicing Agreement (“PSA”), Sale & Servicing Agreement (“SSA”),

                  Transfer & Servicing Agreement (“TSA”) and Trust Agreement (separately

                  and/or together will be referred to as a governing agreement).

           4.5    Those governing agreements typically create a special purpose trust (i.e., a

                  real estate mortgage investment conduit (“REMIC”) as defined by the

                  Internal Revenue Service, such as a New York common law trust) or a

                  Delaware statutory trust. Regardless of the legal structure, an RMBS trust

                  is not an operating entity and has no employees. Instead, one or more deal

                  parties perform the day-to-day operations of the trust pursuant to their

                  contractual duties. The operation of the trust, and the obligations of the deal

                  parties, are spelled out in the governing agreements drafted in connection

                  with the creation of the trust and the closing of the securitization. Deal

                  parties have distinct and independent roles that rely on their unique

                  expertise, systems, personnel, and business processes.

           4.6    Before the transaction, sponsors, who own (and may have originated) the

                  loans, select the pool of loans to be securitized; create the legal and

                  economic structure of the transaction (including all legal, regulatory and

                  tax-related documentation); define the roles of the transaction parties to



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                  administer the trust and to service the assets of the trust; select and engage

                  parties to perform those roles; draft the agreements and securities filings;

                  and market the securities issued by the trust to qualified investors. After the

                  securitization transaction closes, the sponsor (or an affiliate thereof) may

                  perform certain ongoing roles for the trust, as servicer, master servicer or

                  trust administrator, but does not (and cannot) act as the trustee.

           4.7    The sponsor selects servicers to administer the trust’s assets (e.g.,

                  mortgage loans for an RMBS securitization) for the benefit of investors and

                  other beneficiaries. Sometimes the pre-securitization servicer continues to

                  serve in that role post-closing. Servicers handle all loan-specific and

                  property-specific activities and maintain the trust’s records as to each

                  mortgage loan. RMBS transactions may have a single servicer, responsible

                  for all mortgage loans, or may have multiple servicers who have

                  responsibility for a designated group of mortgage loans.

           4.8    Sponsors may also engage a deal party known as the master servicer when

                  a trust acquires a pool of loans that has multiple servicers who will

                  continue in that role post-closing. Master servicers, who may or may not

                  engage in direct loan servicing activities, are responsible for monitoring,

                  overseeing, and enforcing servicers’ performance and ensuring that each

                  servicer complies with its contractual servicing obligations.

           4.9    When a securitization transaction closes, the sponsor (or an affiliate)

                  typically conveys to an entity (typically a bank) acting as trustee legal title

                  to the securitized assets to hold solely in its trustee capacity (which is



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                       separate from its individual capacity as a bank) as nominee exclusively for

                       the benefit of the trust and its beneficiaries.5 As described more fully

                       below, the governing agreements identify other specific ministerial

                       functions that the trustee performs for the benefit of the investors and any

                       other trust beneficiaries, which may include, among other tasks,

                       administering the trust waterfall, making payments to investors, preparing

                       monthly investor reports, and maintaining a list of registered

                       securityholders (i.e., investors). The trustee role is primarily an investor-

                       facing function and does not involve servicing loans or engaging with

                       borrowers or dealing with property-level issues.

               4.10    As noted above, investors, through ownership of the securities issued by

                       the trust, are entitled to all of the economic benefits and risks associated

                       with the assets. The trustee holds assets and other rights of the trust on

                       behalf of investors, and any rights granted under the governing agreement

                       must, therefore, be exercised through the trustee. The investors have

                       substantial rights under the governing agreement, which may include, in

                       defined circumstances, the right to direct the actions of the trustee—

                       including, in certain transactions, to terminate the servicer. In addition,

                       based upon the structure of the securitization, other deal parties (e.g., a

                       bond insurer) may have substantive rights and/or obligations.




5
 RMBS trustees hold legal title to all assets conveyed by the sponsor, which is not limited to the
mortgage loans.

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           4.11   The sponsor may also assign other administrative tasks to one of the parties

                  referenced above or, instead, appoint an additional party to an independent

                  role. As I understand the Lawsuit, the disputed issues do not center around

                  these roles or parties, so I do not address them further in this report. If I

                  learn otherwise or if the disputed issues change, I may opt to supplement

                  this report to address them.

      C.    Customary Role of the Servicer and Master Servicer

           4.12   I understand that the Lawsuit primarily relates to allegations concerning

                  servicing issues—namely the maintenance and marketing of REO

                  properties—and also whether the trustee can control and/or be liable for

                  that servicing activity. Accordingly, I describe in this section loan servicing

                  functions, the typical role of an RMBS trustee, defaults, and thereafter

                  cover industry custom and practice relating to the trustee’s administration

                  of RMBS transactions. Thereafter, the typical role of an RMBS trustee.

                  These topics will provide an important foundation upon which I can then

                  cover industry custom and practice of trustees in the administration of

                  RMBS transactions.

           4.13   Residential mortgage loan servicing is a highly specialized and heavily

                  regulated industry requiring specific skills, systems and licensing. Sponsors

                  select and engage servicers based upon several factors including, but not

                  limited to, the following: which party is servicing the mortgage loans pre-

                  securitization; the servicer’s experience in administering similar mortgage

                  loans and in acting as a servicer for RMBS transactions, and the then-


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                  applicable servicer rating assigned by the rating agency the sponsor

                  engaged to rate the securities issued by the trust.

           4.14   Servicers handle all aspects of administering the mortgage loans. While a

                  borrower satisfies its obligations under the note, the servicer collects

                  payments and deposits them into an account for distribution, by the trustee,

                  paying agent, or securities administrator, to investors (net of expenses) and

                  may handle tax and insurance escrows. If a borrower falls behind on

                  payments, the servicer engages with the borrower on any loan modification

                  and/or initiates a foreclose on the property. Following the completion of

                  any foreclosure action, the servicer registers title of the REO property in

                  the name of the trustee for the benefit of the investors, updates any

                  foreclosure registry with its contact information, and, itself or through

                  vendors, assumes responsibility for REO maintenance, marketing, and

                  ultimately sale. Below is an example of typical governing agreement

                  provisions covering the titling of REO property.


                  4.14.1 “With respect to any REO Property, the deed or certificate of sale

                         shall be taken in the name of the Trustee for the benefit of the

                         Certificateholders [i.e., investors], or its nominee, on behalf of the

                         Certificateholders. The Trustee’s name shall be placed on the title

                         to the REO Property solely as the Trustee hereunder and not in its

                         individual capacity. The Servicer shall ensure that the title to the

                         REO Property references the Pooling and Servicing Agreement and




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                                 the Trustee’s capacity hereunder.” (INDYMAC 2006-AR7 PSA

                                 §3.12)


                4.15    The governing agreements typically provide that the servicer perform its

                        obligations in accordance with “Accepted Servicing Practices” and without

                        regard to the servicer’s own economic interests.6 While the specific

                        language may vary slightly, the typical governing agreement provisions

                        state that the servicer will service the mortgage loans in accordance with

                        each of the following standards:

                        4.15.1 In the same manner it services other similar mortgage loans in its

                                 own portfolio;

                        4.15.2 Giving due consideration to the customary and usual standards of

                                 prudent mortgage lenders and loan servicers administering similar

                                 mortgage loans;

                        4.15.3 In compliance with applicable state and federal law; and

                        4.15.4 To the extent consistent with all of the above, seek to maximize the

                                 timely and complete recovery of principal and interest on the

                                 mortgage loans.

                4.16    Governing agreements grant servicers broad and complete authority to

                        administer, in all respects, the mortgage loans in accordance with their

                        terms. Below are relevant Governing Agreement excerpts for two Trusts in

                        this Lawsuit. These provisions are typical, in my experience. Trustees


6
 Excluding any relationship with any sub-servicer or affiliate; interest in any of the trust’s securities;
obligation to make certain advances; and right to receive compensation for its work as servicer.

                                                      16
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                  understand that these provisions enable servicers and master servicers to

                  perform their duties independently and without involvement (or

                  interference) of the trustee.

                  4.16.1 “The Servicer, acting directly or through one or more subservicers

                          as provided in Section 4.09, shall service and administer the

                          Mortgage Loans from and after the Closing Date and, except where

                          prior consent or approval of the Master Servicer is required under

                          this Agreement, shall have full power and authority, acting alone, to

                          do any and all things in connection with such servicing and

                          administration which the Servicer may deem necessary or desirable,

                          consistent with the terms of this Agreement and with the Servicing

                          Standard.” (Aames 2005-4 TSA §4.02).

                  4.16.2 “The Servicer shall have full power and authority, subject only to

                          the specific requirements and prohibitions of this Agreement, to do

                          any and all things in connection with any REO Property as are

                          consistent with the manner in which the Servicer manages and

                          operates similar property owned by the Servicer or any of its

                          Affiliates, all on the terms and for each period (subject to the

                          requirement of prompt disposition set forth in Section 3.23(a)) as

                          the Servicer deems to be in the best interests of Certificateholders

                          [i.e. investors].” (Soundview 2006-EQ2 PSA §3.23(c)).

           4.17   In my extensive experience, governing agreements state that servicers have

                  the right to (and they often do) retain sub-servicers and vendors to perform



                                             17
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                        servicing functions, subject solely to their oversight and control, on their

                        behalf, for the benefit of the trust and consistent with the governing

                        agreement. The governing agreements also customarily provide that the

                        trustee has no contractual relationship with a servicer’s sub-servicers or

                        vendors.

                4.18    Servicers are compensated, for loan servicing activities, from trust funds

                        collected on the mortgage loans and deducted from amounts remitted to the

                        trustee or paying agent. That compensation includes a servicing fee

                        (expressed as a percentage of the outstanding principal balance of each

                        mortgage loan), any economic benefit derived from collections held in

                        accounts it maintains, and allowable expenses and indemnification

                        amounts. Given the breadth and technical nature of loan servicing, the

                        associated fee rate is significantly higher than the fee rate of other deal

                        parties, such as the master servicer, trust administrator and trustee, as

                        discussed below.7

                4.19    Master servicers maintain independent records as to each mortgage loan

                        and updated monthly based on loan-level information provided by

                        servicers. Pursuant to the governing agreement, servicers may seek

                        guidance, direction and consent from the master servicer in connection with

                        an action on a particular loan or on the servicing standard for a trust.



7
 In my many years of experience, the servicing fee rate falls within a range of 25-50 basis points
(depending on whether the loans are prime, Alt-A or subprime loan). Master servicer compensation is
highly variable depending on whether the master servicer services mortgage loans, administers the trust
waterfall and/or is responsible for the fees of other deal parties (e.g., securities administrator, trustee,
paying agent).

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                        Master servicers oversee, monitor and enforce the performance of servicers

                        utilizing the servicer-provided information, reports or audits. I understand

                        that master servicers typically conduct a periodic review of servicers, for

                        which they have oversight responsibility and leverage their observations in

                        assessing a servicer’s adherence to the servicing standard.8 Master servicer

                        compensation is comprised of the same components as described above

                        with respect to servicers (¶4.18).

               4.20     Servicers and master servicers are required to deliver annual compliance

                        documents to the trustee and other designated recipients (e.g., investors,

                        rating agencies, bond insurer) attesting to (i) the satisfaction, in all material

                        respects, of their contractual obligations, and (ii) their compliance, as to an

                        identified portfolio of RMBS transactions, with specified servicing criteria

                        as required under SEC Regulation AB.9 Servicers deliver the certificate and

                        report to the trustee or master servicer and master servicers deliver their

                        certificate and report to the trustee.10 (See §5F for information on trustee

                        custom and practice).

        D.      Customary Role of the RMBS Trustee

               4.21     Trustees are engaged by the sponsor as independent deal parties (i.e.,

                        unaffiliated with or controlled by the sponsor or the servicer(s)) to perform


8
 If a transaction does not involve a master servicer, neither the trustee nor any other transaction party
performs these roles.
9
 This report is required under Item 1122 of Regulation AB and covers a uniform set of servicing criteria,
for the designated platform (i.e., is not trust-specific), which may or may not be the same as the servicing
duties specified in a governing agreement.
10
  Governing agreements may provide that annual certificates and reports are to be provided to other deal
parties and made available to investors.

                                                     19
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                  administrative functions as specified in the governing agreement for the

                  benefit of investors. Those functions include holding, solely for the

                  beneficiaries, legal title to the trust’s assets; maintaining certain trust

                  records (but not including servicing records on the mortgage loans); and, in

                  limited circumstances, exercising contractual rights on behalf of and at the

                  direction of investors. As explained above, those administrative functions

                  may also include calculating and making payments to investors, preparing

                  monthly investor reports, and maintaining a register identifying the holders

                  of the securities.

           4.22   Sponsors select and engage trustees based upon their experience, in acting

                  as a corporate trustee for RMBS transactions, after designating other deal

                  parties, including the servicer, and determining the legal and economic

                  structure of the transaction.

           4.23   Performance of the trustee’s duties, and its exercise of any rights, are

                  determined and guided by contractual provisions typically found in the

                  governing agreement sections entitled “Duties of the Trustee” and “Certain

                  Matters Affecting the Trustee.” Consistent with its customary role, the

                  following provisions relating to the trustee are typically present in a trust’s

                  governing agreement:

                  4.23.1 The trustee’s contractual duties are only those expressly provided

                          for in the contract. Any right, including the ability to exercise

                          discretion, is not understood to be a duty and is not required to be

                          considered or exercised absent receipt of a qualified investor



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                         direction and/or an event of default as defined in the governing

                         agreement.

                  4.23.2 The trustee is indemnified against potential liability and for fees and

                         expenses in the absence of willful misconduct, bad faith or

                         negligence.

                  4.23.3 The trustee is not required to risk or expend its own funds or subject

                         itself to personal liability in the performance of its duties or in the

                         exercise of any right.

                  4.23.4 The trustee is also not required to investigate any fact or matter

                         unless directed to do so by a threshold percentage of investors.

                  4.23.5 The trustee is entitled to rely on the truth and accuracy of the

                         contents of documents that are required by the governing

                         agreements to be delivered to the trustee so long as, on their face,

                         they appear to conform to the required form.

                  4.23.6 The trustee is not subject to liability under the agreement for actions

                         taken or omitted if it reasonably believed in good faith belief that it

                         was entitled to take (or not take) them unless it was negligent in

                         ascertaining the pertinent facts.

                  4.23.7 The trustee is not subject to liability under the agreement for actions

                         taken or omitted in reliance on the advice of counsel or at the

                         direction of a threshold percentage of the investors.




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                          4.23.8 The trustee shall not be deemed to have knowledge of a default

                                  unless a responsible officer of the trustee shall have actual

                                  knowledge or received written notice.

                  4.24    The trustee customarily receives the following from the servicer or master

                          servicer: (a) monthly information on the mortgage loans necessary to

                          perform its duties, and and/or (b) periodic documentation (e.g., reports,

                          certificates, notices) as required by the governing agreement. The former is

                          data11 required by the trustee if it calculates the waterfall and creates

                          reports for investors and other parties with prescribed information on the

                          mortgage loans (per the governing agreement). The latter is typically

                          delivered annually to the trustee as part of its responsibility to hold certain

                          trust records and to furnish such documents to other designated or

                          authorized parties.

                  4.25    Trustee duties do not include loan servicing-related activities, and its

                          interaction with servicers, in this regard, is limited to executing documents

                          or delivering a power of attorney (due to holding legal title to the mortgage

                          loans). Governing agreements require the trustee to cooperate with

                          servicers and master servicers, pursuant to their request and/or direction, to

                          enable them to independently perform in accordance with their authority.

                          Other typical governing agreement provisions provide that the trustee is not

                          responsible or liable for the performance of a servicer. Examples of typical

                          provisions from certain Governing Agreements are outlined below.


11
     See ¶5.18 above, which describes loan-level data delivered for this purpose.

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                  4.25.1 “The Trust and the Securities Administrator, prior to the occurrence

                         of an Event of Default and after the curing of all Events of Default

                         that may have occurred, undertakes to perform such duties and only

                         such duties as are specifically set forth in this Agreement. During

                         an Event of Default, the Trustee and Securities Administrator shall

                         exercise such of the rights and powers vested in it by this

                         Agreement, and use the same degree of care and skill in their

                         exercise as a prudent person would exercise our use under the

                         circumstances in the conduct of such person’s own affairs. Any

                         permissive right of the Trustee and Securities Administrator

                         enumerated in this Agreement shall not be construed as a duty.”

                         (Bravo 2006-1 PSA § 8.01)

                  4.25.2 “The Trustee shall furnish the Servicer and the Master Servicer with

                         a separate power of attorney in the standard form used by the

                         Trustee in the form of Exhibit R to the extent necessary and

                         appropriate to enable the Servicer and the Master Servicer to

                         service and administer the Mortgage Loans and REO Property. The

                         Trustee shall not be liable for the actions of any Servicer or the

                         Master Servicer under such powers of attorney.” (American Home

                         2007-5 PSA §8.01(a))

           4.26   Because the trustee is listed in certain public records as the legal titleholder

                  to property, it may receive information (e.g., through a notice or inquiry)

                  for circumstances that may require action by the servicer with respect to a



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                  particular loan level issue. As a result, based on its understanding of the

                  requirements of the governing agreements, trustees typically forward loan-

                  level information requests or notices to the applicable servicer—as long as

                  the information it receives is sufficiently detailed to enable the trustee to

                  identify the trust and the relevant servicer.

           4.27   Trustee compensation is typically comprised of the same elements as those

                  described above for servicers (i.e., fees, economic benefit of trust account

                  balances, expenses, indemnification amounts) but is a fraction of the

                  servicer and master servicer compensation in light of the trustee’s much

                  more limited role. Depending on the terms of the governing agreements,

                  amounts due to the trustee may be paid from the trust waterfall or instead

                  paid by another deal party.

           4.28   Trustees’ fees are based upon the scope and nature of its role, structure of

                  the trust, timing of any funds deposited to a trust account (i.e., number of

                  business days prior to payment date) and whether the funds will be invested

                  or held uninvested. If a trustee is not the paying agent and does not

                  administer the trust waterfall, its compensation tends to be a flat annual

                  amount typically in the range of $2,500 - $3,500.

           4.29   Trustee fees, when administering the waterfall and acting as paying agent,

                  are typically comprised of a basis point fee rate and/or a certain number of

                  days to hold uninvested the monthly amount received from the servicer or

                  master servicer. Basis point fees, in my experience, range from a fraction of

                  a basis point to a couple of basis points depending on the amount of the



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                  original pool balance. Illustrated below are two examples of trustee

                  compensation:

                  4.29.1 A trustee fee rate of 0.002% applied to an original pool balance of

                         $900 million equates to an initial monthly fee of $1500 (or

                         $18,000/year). The monthly fee declines in accordance with the

                         actual pool balance, so if by year 15 of the trust, the pool balance

                         had dropped to $10,000,000, then the monthly fee would be less

                         than $17.

                  4.29.2 A trustee fee rate of 0.00% and the right to retain the economic

                         benefit of the monthly deposit for two business days preceding each

                         payment date. The economic benefit would vary based on

                         fluctuations in the monthly deposit, calendar days the deposit is

                         held, and the rate the trustee earns on deposits. A monthly deposit

                         of $6 million held for two calendar days would be equate to a fee of

                         ~$1,479/month or ~$17,753 annually(assuming Fed Funds less

                         FDIC insurance equals a rate of 4.5%).

      E.    Breaches, Defaults and Events of Default

           4.30   Each governing agreement specifies particular circumstances that constitute

                  a default and other conditions, such as written notice and then passage of a

                  specified time period without a cure, before an event of default (“EOD”)

                  may be determined or declared. Governing agreements may contain

                  different types of defaults and EODs depending on the transaction structure

                  and deal party roles. The types of defaults that could arise are further

                  explained below:
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                       4.30.1 Indenture defaults typically involve a failure by the issuer to

                               perform or observe a covenant (e.g., make required distributions or

                               deliver compliance certificates and/or reports);

                       4.30.2 Servicer defaults typically involve a failure to perform (e.g., to

                               deposit funds, to deliver reports and/or certificates) or to service the

                               mortgage loans in accordance with the governing agreement12; and

                       4.30.3 Master servicer defaults typically involve a failure to perform

                               master servicing duties, including in accordance with the governing

                               agreement, but not as a consequence of a servicer default.

               4.31    Each RMBS must be administered pursuant to its governing agreement;

                       therefore, a default or an EOD must also be specific to a trust. This means,

                       of course, that any servicing-related default must implicate the mortgage

                       loans in the particular trust. When the trustee has actual knowledge or

                       notice of a servicer default, it would (when required) provide notice of the

                       specific default to the servicer.

               4.32    In addition, RMBS governing agreements typically state that a failure by

                       the servicer or master servicer to observe a covenant or perform a duty may

                       become an EOD if the breach and/or default is material to the interests of

                       the investors and if the breach or default remains after the servicer or

                       master servicer has been given written notice and an opportunity to cure.

                       An example of typical governing agreement provisions is below.


12
  Servicer defaults may also occur as a result of a rating downgrade, the results of a collateral
performance test specified in the governing agreement, or a bankruptcy filing. After a servicer or master
servicer files for bankruptcy, enforcement of the contract would violate the automatic stay.

                                                    26
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                        4.32.1 “any failure by the Servicer to observe or perform in any material

                                 respect any other of the covenants or agreements on the part of the

                                 Servicer contained in this Agreement, which failure materially

                                 affects the rights of Securityholders [i.e., investors], which failure

                                 continues unremedied for a period of 60 days after the date on

                                 which written notice of such failure shall have be given to the

                                 Servicer …” (Saxon 2005-3 SSA §6.1.)

                4.33    Following the occurrence of certain EODs13 (e.g., an indenture EOD, a

                        master servicer EOD under a PSA), a trustee typically is expected to

                        perform its duties and exercise those rights (as provided in the governing

                        agreement) as a prudent person would under similar circumstances. Prior to

                        or following the resolution of an EOD, the trustee’s duties are only those

                        expressly required under the particular governing agreement.

                4.34    Under typical RMBS governing agreements, the trustee is only charged

                        with its post-EOD “prudent person” duties if it has actual knowledge or

                        receives written notice of the EOD. The trustee may obtain actual

                        knowledge of certain defaults, such as a failure of the servicer to make a

                        required deposit, if the trustee maintains the account into which the funds

                        were required to be deposited. Trustee knowledge of other types of defaults

                        (i.e., a material failure to perform in accordance with the standard of care)

                        generally occurs only after the trustee receives written notice from a


13
  This is a function of the structure (i.e., indenture versus PSA) and deal party roles (i.e., if the governing
agreements appoint a master servicer to oversee a servicer, a servicer EOD typically does not trigger a
higher standard of care for the trustee nor a right for the trustee to terminate the master servicer).

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                         transaction party that has made a subjective determination of a breach by

                         the servicer or master servicer. Governing agreements typically identify the

                         transaction party (e.g., trustee, master servicer, and/or requisite percentage

                         of investors) able or obligated to provide a breach or default notice to the

                         servicer. Delivery of such notice then triggers a specified cure period, for

                         the servicer or master servicer to resolve each breach or default, which

                         must elapse (and unresolved) before an EOD may be determined and

                         declared by the enforcing party.

                4.35     When an EOD has occurred, with respect to the servicer, governing

                         agreements typically provide that the master servicer may, or shall at the

                         direction of the requisite investors, terminate the servicer subject to other

                         specified rights and conditions. When it is an EOD with respect to the

                         master servicer, the provisions typically provide the same with the trustee

                         as the enforcing party authorized to terminate the master servicer (but not

                         the servicer). There are also transactions where another deal party (e.g., an

                         insurer or trust administrator) is specified as either a consent party14 or the

                         party with the contractual authority to terminate the servicer or master

                         servicer.

                4.36     The termination of a servicer results in the transition of servicing functions

                         and records from one servicer to another. A servicing transfer is, therefore,

                         a significant and impactful event for the trust (i.e., potential disruption to



14
  Typically, a certificate insurer, if any, has a right to consent, or object, to the termination or other
remedy after an EOD has occurred.

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                  servicing activities and incurring costs from the transition) and for all of the

                  borrowers whose loans are owned by a trust (e.g., changes in contact and to

                  whom payments are made; delay to in-process modification requests).

                  Governing agreements may specify a certain transition period, and, if not,

                  the transfer of servicing duties will occur within a timeframe (i.e., 90 days

                  or longer) sufficient to enable servicers to comply with all regulatory notice

                  requirements and to otherwise provide for an orderly transition.

5.    RMBS TRUSTEE CUSTOM AND PRACTICE

           5.1    In this section I identify and explain industry custom and practice of

                  trustees, in their administration of RMBS trusts. In connection with each

                  custom and practice, and based on my review of the Trustees’ testimony

                  and the policies identified in Exhibit A, I provide an opinion regarding the

                  conformance of the Trustees’ trust administration practices and procedures

                  to industry custom and practice. My opinions are solely based on my

                  extensive corporate trust and RMBS administration experience (as outlined

                  in Report §2) as well as my review of the materials listed in Exhibit A. I

                  reserve the right to revise and/or supplement my opinions if I am provided

                  with additional information.

      A.    Trustees Review and Negotiate Governing Agreement Provisions Covering Their
            Duties and Protections or Affecting the Performance of Their Duties.

           5.2    When reviewing and negotiating new contracts, Trustees focus solely on

                  those provisions that (a) cover or affect the performance of their duties

                  (including limitations of their duties); (b) provide protection in the

                  appointed role; and/or (c) create potential liability in serving in the


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                        appointed role. Trustees review draft agreements provided by the sponsor’s

                        counsel and work with their own counsel to ensure the provisions are

                        typical, consistent with the scope of the role(s) contemplated and comply

                        with any internal standards. In addition, trustees review some provisions

                        covering other deal parties’ duties but solely to the extent that they could

                        affect the trustee’s ability to timely and effectively perform its own duties

                        (e.g., timing for servicer’s delivery and sufficiency of mortgage loan level

                        data necessary for the trustee to produce a report to investors).

                5.3     Internal document standards, and related guidance, employed by trustees

                        typically focus on potential risk and liability and are designed to ensure that

                        its standard business processes could consistently satisfy its contractual

                        duties (e.g., timing to post monthly investor reports to its website). Any

                        deviation from the standard and/or unique provisions typically requires

                        further review and approval at a more senior level.

                5.4     Lastly, trustees may read portions of the draft agreements to understand, at

                        a high-level, the structure and operation of the trust, but custom and

                        practice is to refrain from making comments on aspects affecting the rights

                        or duties of other parties and, particularly, any economic considerations

                        (other than their own compensation and protection against liability).

                5.5     I reviewed the procedures and guidelines that the Trustee prepared for its

                        employees to utilize when negotiating new contracts.15 The Trustees’

                        guidance for the review of new contracts, is generally consistent with the



15
     See Exhibit A, Document Review Guides; Document Review Outlines; Document Review Procedures.
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                  custom and practice described above. Therefore, in my opinion, to the

                  extent the procedures were followed, the Trustees’ negotiation of new

                  governing agreements conformed to the industry custom and practice set

                  forth above in this section. Finally, based on my review, it is my opinion

                  that the document provisions and scope of trustee duties (including the

                  limitations and protections afforded the role) in the Governing Agreements

                  listed in Exhibit A are typical for an RMBS trustee.

      B.    Trustees Perform Express Duties and Administer Transactions on a Trust-By-
            Trust Basis in Accordance with the Governing Agreement and Have Policies and
            Procedures to Provide High-Level Guidance for Performing their Ordinary
            Activities.

           5.6    In the administration of any trust, trustees customarily understand that they

                  are obligated to perform only their express duties (pre-EOD), and they rely

                  upon the typical limitations and protections afforded them in the governing

                  agreement (and at times, consultation with counsel) in determining the

                  manner by which they discharge their obligations. This general approach is

                  manifest in every other pre-EOD custom and practice. For example (and as

                  further explained below), loan-level data delivered to the trustee for

                  waterfall administration, prior to the occurrence of an EOD, is only utilized

                  in connection with its intended purpose.

           5.7    Trustees employ policies and procedures (“P&P”) to provide high-level

                  guidance on processes that may be regularly applied by staff to administer

                  securitization transactions. P&P are not, consistent with custom and

                  practice, intended to supplant or override the express contractual provisions

                  to which each trust must be administered. It is understood that if any

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                        conflict arises, between P&P and a governing agreement, trustees follow

                        the terms of the governing agreement.

                5.8     Trustees’ P&P typically identify potential issues to be escalated, including

                        to whom, but do not offer guidance when a subjective assessment and/or

                        considered decision may be necessary because the circumstances and/or

                        terms of the applicable governing agreement could affect the analysis and

                        decision. When trustees encounter unique circumstances, they often seek

                        out others, including management and/or internal or external counsel, to

                        leverage an appropriate level and scope of experience (as well as any

                        specialized expertise) to satisfactorily perform the trustee’s contractual

                        role.

                5.9     I reviewed the Trustees’ procedures for use by their officers and employees

                        when performing their ordinary (as opposed to post-EOD) administration

                        responsibilities.16 In my opinion, the Trustees’ P&P in this regard are

                        generally consistent with this industry custom and practice in: (a) its

                        guidance to administer a trust in accordance with the governing

                        agreement(s), (b) its presumption that, prior to an EOD, the Trustee is only

                        required to perform its express contractual duties, and (c) its direction to

                        employees that when unusual circumstances and/or potential servicing-

                        related breaches occur, they should escalate the issue and seek the advice of

                        counsel (internal and/or external) prior to taking further action. If the

                        Trustees administer their RMBS trusts in accordance with these P&Ps, it is



16
     See Exhibit A, Deutsche Bank Documents & Governing Agreements.
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                        my opinion that they administered them in a manner that is consistent with

                        industry custom and practice.

        C.      Trustees Understand Servicers & Master Servicers to be Independent Deal
                Parties, With Distinct and Specialized Roles and Presume They Perform in
                Accordance with the Governing Agreement.

               5.10     As previously mentioned, sponsors select and engage servicers and master

                        servicers based upon their qualifications and experience. In addition, rating

                        agencies assess servicer and master servicer qualifications and

                        performance, assign servicer or master servicer ratings, and account for

                        these considerations when assigning ratings to the trust’s securities17

                        Trustees, therefore, generally expect that the entities named as servicer or

                        master servicer are qualified to act in these roles.

               5.11     Servicers and/or master servicers are appointed under the governing

                        agreements to independently perform loan servicing functions, including

                        REO maintenance and marketing, for the benefit of the trust and its

                        beneficiaries (i.e., investors). As servicers and master servicers are

                        autonomous transaction parties, with broad authority granted under the

                        governing agreements, trustees do not consider servicers and/or master

                        servicers to be their vendors or agents. Trustees cooperate and furnish

                        documents and/or information that may be required or requested by the

                        servicer or master servicer, including a power of attorney, to perform their

                        loan servicing activities. Powers of attorney, furnished by the trustee as




17
  A rating agency confirmation that its rating of a trust’s securities will not be downgraded, solely as a
result of any servicing transfer (i.e., a change from one entity to another) is typically required.

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                  required under RMBS governing agreements, are drafted to confirm the

                  authority granted to the servicer under the governing agreement and

                  typically indemnify the trustee for any and all actions that the servicer (or a

                  sub-servicer of the servicer) takes thereunder.

           5.12   The nature and frequency of the trustee’s interaction with servicers is

                  largely determined by the scope of the trustee’s functions in administering

                  the trust. By way of illustration, where a trustee administers the waterfall,

                  the interaction is regular (i.e., during the monthly reporting cycle) and

                  transactional in nature (e.g., delivery of monthly loan-level data), enabling

                  the parties to perform the respective functions assigned to them in the

                  governing agreement. When the trustee performs a more limited trustee

                  role (i.e., when the governing agreement appoints a securities administrator

                  to perform functions sometimes performed by trustees), the interaction is

                  intermittent and also transactional in nature (e.g., request for powers of

                  attorney; delivery of annual compliance documents).

           5.13   In the absence of actual knowledge or written notice of a servicer or master

                  servicer default and/or EOD, governing agreements entitle trustees to

                  presume that no default or EOD has occurred. Consistent with these

                  provisions, trustees expect that the entity servicing the mortgage loans has

                  performed or will perform under the governing agreement accordingly.

                  Below is an example of typical governing provisions:

                  5.13.1 “For purposes of this Section 7.01, the Trustee shall not be deemed

                         to have knowledge of a Servicer Event of Default unless a



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                                Responsible Officer of Trustee assigned to and working in the

                                Trustee’s Corporate Trust Office has actual knowledge thereof or

                                unless written notice of any event which is in fact such a Servicer

                                Event of Default is received by the Trustee and such notice

                                references the Certificates, any of the Trust REMICs or this

                                Agreement.” (Long Beach 2006-6 PSA §7.01)

               5.14    Trustees do not monitor, oversee or investigate18 the performance of

                       servicers (as that is not a trustee duty) as a matter of custom and practice

                       and manage their interactions with servicers and master servicers

                       accordingly (i.e., limited to express duties and/or cooperation requested or

                       directed by the servicer). Relatedly, governing agreements typically state

                       that trustees need not investigate any matters unless directed to do so by

                       investors and may presume, absent actual knowledge or written notice, that

                       no default or EOD has occurred. RMBS trustee custom and practice,

                       therefore, presumes servicer and master servicer compliance with their

                       contractual obligations in the absence of notice or actual knowledge as

                       defined under the governing agreement.

               5.15    Corporate trust departments are typically staffed and managed by personnel

                       with trust administration and/or operations experience. Consequently, even

                       if trustees had a contractual right or authority to direct servicers’ conduct

                       and performance (and had access to information on the mortgage loans and



18
  An investigation undertaken by a trustee at the direction of securityholders is not a custom and practice
covered by this report and is handled on a case-by-case basis.

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                          the borrowers necessary to make appropriate servicing determinations,

                          which they do not), they typically lack the requisite expertise in mortgage

                          loan servicing. As such, it is also custom and practice of trustees to refer

                          any inquiry or documentation related to loan servicing to the servicer

                          and/or master servicer.

                  5.16    Finally, consistent with typical RMBS governing agreement provisions,

                          rights (as opposed to express duties) the trustee may have as the nominal

                          owner of a mortgage loan for the benefit of investors typically would not,

                          as a matter of custom and practice, be exercised absent a qualified direction

                          from investors.19

                  5.17    Based on my review of the deposition testimony of Ronaldo Reyes (who

                          testified as the Trustees’ corporate representative) and the testimony of

                          Reyes’s former supervisor, David Co,20 it appears to me that the Trustees

                          understood the servicer has broad authority to service the mortgage loans

                          and were not expecting the Trustee to play a role in servicing activities. In

                          my opinion, these understandings and expectations are consistent with how

                          RMBS trustees view the servicing function. By providing Ocwen a power

                          of attorney per the terms of the Governing Agreements and cooperating on

                          loan-level inquiries, requests and/or potential issues, the Trustees’

                          processes are consistent with a typical RMBS trustee’s understanding of its

                          role (as explained above)—which would neither require trustees to direct



19
     The exercise of any rights or remedies with respect to the servicer is covered in ¶¶5.35-5.36 below.
20
     See Exhibit A, Deutsche Bank Depositions.
                                                       36
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                        the servicer nor to undertake loan servicing functions (prior to assuming the

                        role as servicer, if applicable). None of the activities addressed in the

                        Trustees’ P&P cover any activities that I would construe as monitoring,

                        oversight or investigation of a servicer’s or master servicer’s conduct.

        D.      Trustees’ Review and Use of Loan-Level Data, Delivered by the Servicer or
                Master Servicer, is Undertaken Solely in Connection With their Administration of
                the Trust’s Waterfall and Related Reporting to Investors.

               5.18     A trustee requires certain loan-level and other information when

                        responsible for administering the monthly waterfall.21 Under those

                        circumstances, the trustee typically receives a data file22 on a specified date

                        with information such as: the beginning and ending loan balance;

                        scheduled and unscheduled payments; paid through date; if a foreclosure

                        was initiated or if related to an REO property; and indication that the loan

                        terms were modified. The file does not contain qualitative servicing-related

                        information, such as the servicer’s communications with the borrower, the

                        condition of property, the servicer’s REO property maintenance, or the

                        servicer’s practices for marketing and/or selling REO property. Trustees, as

                        a matter of custom and practice, review the contents of the data file(s), as

                        part of the monthly “tie out” process, to confirm with the servicer and/or

                        master servicer the beginning and ending balance of each mortgage loan

                        and the amount the servicer or master servicer will remit to the trustee for


21
  Throughout the remainder of this section, references to information received by the trustee or roles it
performs only refers to RMBS transactions in which the trustee is responsible for administering the
monthly waterfall. Otherwise, it typically does not receive such data and does not perform these
functions.



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                  deposit to a trust account. This process is not an analysis of the data but

                  instead a comparison to certain information from the prior period and

                  following the application of the reported data elements. Any discrepancy

                  (e.g., being unable to tie out to an ending balance of a mortgage loan)

                  identified by the trustee is reported to the servicer or master servicer—

                  which then provides an explanation or updated data whereby the trustee

                  may complete the tie out process and proceed with administering the

                  waterfall.

           5.19   Loan-level information provided for reporting-only purposes (i.e., needed

                  for the report to investors and not waterfall administration) is, by custom

                  and practice, reviewed only to confirm the required data is present and can

                  be tied out with any aggregate reporting provided. Reporting-only data is

                  then complied, organized and/or otherwise integrated, without further

                  review or analysis, into the report produced by the trustee. When a trustee

                  receives inquiries about this information, the trustee typically refers them to

                  the servicer or master servicer for a response.

           5.20   Trustees retain servicer-provided data only as support for their waterfall

                  calculations and investor reporting and to make it available to other parties

                  as authorized and/or contemplated by the governing agreements.

           5.21   Based on my review of the documents in Exhibit A, I am not aware of any

                  evidence indicating that the Trustees utilized loan-level data received by it

                  for any purpose other than in connection with its administration of the

                  waterfall, preparation of investor reports, or, as discussed in the next



                                             38
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                        section, to identify the applicable servicer. If the Trustees did not analyze

                        or leverage loan-level information that it received, other than for these

                        purposes, that would in my opinion be consistent with industry custom and

                        practice.

        E.      When Trustees Receive a Loan-Level Notice (or Inquiry), They Typically Refer
                the Matter to the Responsible Servicer or Master Servicer for Handling (or
                Response).

               5.22     Prior to the credit crisis, trustees rarely, if ever, received property-specific

                        correspondence, notices (including citations) or inquiries. This changed,

                        starting in or around 2009, when borrowers or their counsel began

                        inquiring about loan modifications, and municipalities began to reach out

                        directly to trustees, because servicers were initiating foreclosures in the

                        name of the trustee (as the legal titleholder of the note and mortgage).

               5.23     Since trustees are only required to perform their express duties, RMBS

                        trustee custom and practice is to refer all loan servicing matters (e.g.,

                        borrower correspondence; notice of unpaid taxes; utility bills; citations or

                        alleged code violations) to the servicer and/or master servicer. This practice

                        is consistently applied by trustees (other than escalated matters as

                        explained below) without regard to the location or value of the property.23

                        Over time, as inquiries became more frequent, trustees began to track items

                        received, date forwarded to the servicer, and servicing contact to whom an

                        item was forwarded.




23
  Information as to property value is not information typically available to trustees unless included in
investor reports when prepared by the trustee.
                                                     39
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           5.24   Trustees utilize information contained in a loan-level notice or that they

                  otherwise received (e.g., mortgage loan schedules received at the inception

                  of a transaction, monthly files received from the servicer for waterfall

                  administration) or conduct simple research of public property records to

                  identify the responsible servicer. This custom and practice typically enables

                  trustees to identify, and then forward the documentation or refer the party

                  to an appropriate contact of, the servicer or master servicer. Written

                  materials are typically forwarded with a request to respond if they have no

                  record of the loan or are no longer the servicer.

           5.25   In certain circumstances, the trustees may receive requests or follow up

                  from municipalities or other governmental entities (with respect to a

                  property or list of properties). Consistent with the practice described above,

                  trustees identify the responsible servicer or master servicer, send the

                  servicer or master servicer its portion of the list (if properties tied to more

                  than one servicer or master servicer appear on the list), and provide the list,

                  identifying the responsible servicer and contact information, to the

                  inquiring representative. As needed, trustees work cooperatively with

                  certain municipalities or government representatives to facilitate

                  communication with servicers and master servicers—always within the

                  limits of and consistent with their role as trustee.

           5.26   When a trustee receives litigation-related documentation (e.g., filings from

                  a court of law; correspondence relating to litigation), those items are

                  typically reviewed by dedicated staff with relevant experience (e.g., a



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                       paralegal). These items are read to identify whether the trust or trustee is a

                       named defendant and, more generally, to apply relevant internal guidance

                       to identify potential issues or circumstances to be escalated to managers

                       and/or counsel for further review.24 RMBS trustee custom and practice,

                       other than for escalated items (i.e., those that do not involve ordinary

                       trustee duties or that involve unusual circumstances), is to forward and

                       tender litigation to the servicer to manage on behalf of the trust and trustee.

                       When the matter requires, servicers retain outside counsel to defend the

                       trust and the trustee against claims relating to servicing activity. These

                       litigation-related documents, as well, are tracked and copies retained as part

                       of the trust’s records.

               5.27    As covered above (¶5.13), governing agreements typically provide that

                       trustees are entitled to presume that no default or EOD has occurred absent

                       written notice or actual knowledge. Given trustees lack the requisite loan

                       servicing expertise and specific information on any REO property, citations

                       or lists of alleged violations it receives are understood to be potential (i.e.,

                       not yet established), breaches that the servicer is responsible, and best

                       positioned, to address—and does not require any investigation, monitoring

                       or oversight by the trustee.

               5.28    I have reviewed the Trustees’ P&P and deposition testimony concerning its

                       processes for, and handling of, loan-level inquiries and notices (including



24
  Trustees work closely with their counsel, internal or external, in developing guidance on the review
used to identify items for escalation.

                                                   41
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                       citations or litigation related matters),25 and, in my opinion, they are

                       generally consistent with industry custom and practice.

        F.      Trustees Review Compliance Certificates & 1122 Reports Delivered by Servicers
                or Master Servicers to Determine Whether, on Their Face, the Documents Appear
                to Meet the Requirements of the Governing Agreement.

               5.29    As previously explained, trustees maintain certain records of the trust,

                       which include compliance documents delivered by the servicer and/or

                       master servicer. Consistent with the typical RMBS provisions outlined

                       above (¶4.23.5), these documents can be relied upon by the trustee in the

                       performance of its duties. Trustee custom and practice, with respect to any

                       certificate or report to be delivered to the trustee on a specified date, is to

                       establish a tickler as a reminder of the due date and from whom and what

                       documents are required under the governing agreement.

               5.30    On an annual basis, servicers and master servicers typically are required to

                       deliver two documents: (a) an annual statement of compliance covering its

                       obligations for a trust (“Compliance Certificate”); and (b) management’s

                       assessment of compliance, for a portfolio of trusts, with SEC Regulation

                       AB Item 1122 servicing criteria (“1122 Report”).26 Upon receipt, in

                       accordance with custom and practice, trustees review the items to confirm,

                       on their face, these documents satisfy the terms of the governing agreement




25
  See Exhibit A, Deutsche Bank Depositions; Deutsche Bank Documents.
26
  For some RMBS issued prior to 2006, servicers or master servicers may deliver a report on
management’s assessment, and accountant’s attestation, as to compliance with the Uniform Single
Attestation Program for Mortgage Bankers (i.e., a report required for RMBS prior to the effective date of
Regulation AB).
                                                   42
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                  and (in the case of the Compliance Certificate) were signed by the

                  appropriate officer(s) of the relevant party.

           5.31   When a servicer’s or master servicer’s Compliance Certificate includes a

                  disclosure of material noncompliance (i.e., performance under the

                  governing agreement which occurred during the period covered), trustee

                  custom and practice is to consider the substance of the disclosure and/or

                  consult with others (i.e., escalate). In considering the substance of the

                  disclosure, the trustee simply determines whether, based upon the

                  statements made, the noncompliance disclosed has been resolved or in the

                  process of being resolved. The reported status and nature of the

                  noncompliance disclosed, along with consideration of the governing

                  agreement provisions, are factors trustees consider in determining whether

                  it should take any additional steps, such as escalate the issue, potentially

                  disclose it to investors, or take no further action.

           5.32   Noncompliance disclosed in the 1122 Report does not relate to each trust

                  itemized in the attached schedule. Rather, in preparing its 1122 Reports,

                  servicers and master servicers (and independent accountants who provide

                  an attestation) test a sample of transactions and render opinions that are

                  platform-wide (i.e., not trust-specific) based on that sample. Therefore, as a

                  matter of custom and practice, trustees do not typically take further action

                  as to any given trust (other than making reports available to investors)

                  based on reported noncompliance included in the 1122 Report – as the




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                    1122 Report is not specific to the particular trust (or mortgage loans held

                    by the trust) at issue.

             5.33   I have reviewed the Trustees’ P&P and deposition testimony concerning its

                    review of annual compliance documents (which would include those

                    received from servicers and master servicers) that were delivered to the

                    Trustees,27 and, in my opinion, that review is generally consistent with

                    industry custom and practice.

       G.     Trustees’ Post-EOD Administration is Based Upon Various Factors Including,
              But Not Limited to, the Unique Circumstances of a Trust, the Rights and
              Authority of the Trustee and Other Deal Parties, Advice of Counsel and Input
              and/or Direction from Trust Investors.

             5.34   After the trustee has actual knowledge (or, if the governing agreement

                    requires, written notice) that a default and/or EOD has occurred and is

                    continuing; trustees (or another deal party) may be required to provide a

                    notice of the default or EOD to trust investors and/or to other parties. The

                    notice describes the nature of the default and often provides to investors a

                    trustee contact for questions, to discuss and/or provide a direction to the

                    trustee, and/or to express their views.

             5.35   In connection with a servicer or master servicer-related ongoing EOD, the

                    governing agreements provide the trustee with a right, but not an

                    obligation, to terminate the relevant entity. Here is an example of typical

                    governing agreement provisions:




27
 See Exhibit A, Deutsche Bank P&P §1E Ticklers (DB_NFHA00121190); Reyes Deposition Subject 8
Dated December 5, 2021 (pages 11 – 20).
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                  5.35.1 “[T]he Trustee shall not be bound to make any investigation into the

                         facts or matters stated in any resolution, certificate, statement,

                         instrument, opinion, report, notice, request, consent, order,

                         approval, bond or other paper or document, unless requested in

                         writing so to do by the Certificate Insurer, or by Holders of

                         Certificates [i.e. investors] evidencing not less than 25% of the

                         Voting Rights allocated to each Class of Certificates;” (CDC 2003-

                         HE4 PSA §8.02(d)).

           5.36   Whether to exercise this right depends upon some of the following: the

                  nature of the EOD, the circumstances of the trust, the trustee’s receipt of a

                  qualified direction and/or the views expressed by investors. As a matter of

                  custom and practice, trustees consult with their counsel (to consider all of

                  the above) and typically await direction from investors. Absent exigent

                  circumstances, under trustee custom and practice, Trustees would not

                  terminate a servicer without first receiving a qualified direction from

                  investors (or other deal parties with consent or direction rights)—as those

                  entities hold the economic interests in the trust and suffer the costs and

                  risks associated with such determination.

           5.37   When a trustee receives notice from a transaction party alleging a servicing

                  related default, these circumstances are typically elevated and, often,

                  counsel is engaged to assess the information received and to review the

                  provisions of the governing agreement. Following consultation with

                  counsel, trustees may take further action including a notice to investors. In



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                        these circumstances, trustees summarize the information and circumstances

                        and typically state that they have not yet concluded that a default occurred.

                        The purpose of the notice is to provide important information to investors

                        and to provide instructions on how any direction (consistent with the terms

                        of the governing agreement) may be provided to the trustee.

        H.      Trustees Do Not Have Policies and Procedures Covering Property Maintenance or
                REO Marketing (or Other Loan Servicing Functions).

               5.38     As explained above (¶5.7), trustees’ policies and procedures provide

                        guidance on administrative processes used in the performance of the

                        trustee’s contractual duties. Throughout my career in the corporate trust

                        industry, I have never encountered an RMBS trust where the trustee is

                        required to perform loan servicing functions—as those activities are solely

                        performed by servicers and/or master servicers.28 In addition, I have never

                        encountered a corporate trust department that has any policies or

                        procedures covering loan servicing functions, including property

                        maintenance and REO marketing. Accordingly, it did not surprise me that

                        my review of the Trustees’ P&P did not reveal any guidance and/or

                        processes concerning property maintenance, REO marketing, or other

                        functions that are solely performed by servicers and not by trustees.




28
  RMBS governing agreements often provide that following an EOD and termination of the servicer or
master servicer, the trustee shall be the successor servicer or master servicer – unless another entity is
appointed as successor. In this limited circumstance, were it to occur, the trustee could assume loan
servicing duties at least temporarily.
                                                     46
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6.    THE KISCH REPORT MISCONSTRUES THE ROLE OF THE TRUSTEE AND
      IGNORES THE BROAD AND INDEPENDENT AUTHORITY OF THE
      SERVICER AND/OR MASTER SERVICER.

           6.1    I have reviewed the expert report and deposition testimony of Pamela

                  Kisch, an executive director of a fair housing center.

           6.2    The Kisch report includes assumptions and/or conclusions that are

                  inconsistent with the purpose and scope of a trustee’s contractual role in an

                  RMBS trust and its contractual relationship with servicers and/or master

                  servicers (and any vendors of the servicer or master servicer).

           6.3    Ms. Kisch says “Deutsche Bank is obligated to insure that their REO

                  properties met the basic standards of upkeep,” and that “Deutsche Bank

                  had a duty to insure the properties were brought into compliance with

                  minimum standards within 30 days.”

                  6.3.1 As explained above (¶4.9), trustees are the nominal owner of an

                         RMBS trust’s property, which is held pursuant to the governing

                         agreements and solely for the benefit of trust investors. Trustees

                         understand that they are only required to perform their express

                         duties outlined in the governing agreement, which do not include

                         loan servicing functions—as those are obligations of the servicer

                         and/or master servicer.

                  6.3.2 As previously stated, typical RMBS governing agreements provide

                         the servicer and/or master servicer for the Trusts with independent

                         authority and obligation to perform all loan servicing functions,

                         including maintenance of REO properties, for the benefit of the

                         trust and its beneficiaries. Based on my review, the Governing
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                         Agreements identified on Exhibit A are consistent with typical

                         RMBS governing agreements. Consistent with industry custom and

                         practice, I would expect the Trustees presume that Ocwen would

                         perform in a manner consistent with the applicable servicing

                         standard of care, which includes applicable regulations.

                  6.3.3 Consistent with industry custom and practice, I would not expect

                         the Trustees to oversee Ocwen’s (or Ocwen’s vendor’s) fair housing

                         compliance.

           6.4    Ms. Kisch also states that “the responsibility for fair housing compliance

                  cannot be delegated away.”

                  6.4.1 For securitized loans like those at issue in this case, fair housing

                         compliance is inextricably linked to loan servicing activities, which

                         are independently performed by servicers and master servicers, on

                         behalf of the trust and its beneficiaries, in accordance with the terms

                         of the governing agreement. In my experience, RMBS trustees do

                         not perform functions related to the acquisition, maintenance, or

                         sale of REO properties and do not supervise or oversee any of these

                         functions.

                  6.4.2 To the extent that Ms. Kisch is referring to customary terms of

                         RMBS governing agreements, in my experience, these agreements

                         do not contain any provisions that address these alleged trustee

                         duties. To the contrary, having reviewed hundreds of RMBS

                         governing agreements (and managed a department responsible for



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                               administering several thousand RMBS trusts),29 I have never

                               encountered terms that require a trustee to perform loan servicing

                               functions (subject to n. above) or to provide guidance or direction

                               to a servicer or master servicer regarding the manner by which they

                               perform those activities for the trust. This makes sense in light of

                               the distinct responsibilities of trustees versus those of servicers; the

                               limited ministerial duties of the trustee; the specialized core

                               competencies of trustees versus those of servicers; and the

                               servicers’ access to servicing-related information and systems (that

                               the trustee does not have).

                       6.4.3 Instead, at closing, governing agreements themselves authorize and

                               direct servicers or master servicers to perform their servicing

                               functions. Thus, trustees would not, as a matter of custom and

                               practice, construe servicers’ responsibility to comply with fair

                               housing requirements (including property maintenance and

                               marketing) to be duties that the trustee delegated to a servicer

                               and/or master servicer. Trustees do not, and cannot, “delegate

                               away” servicing duties that were never assigned to them by the

                               transaction sponsor, at the inception of the trust in the governing

                               agreements. (See ¶¶4.7-4.8 above.)

               6.5     To the extent Ms. Kisch is opining on the Trustees’ legal or other

                       contractual duties (as opposed to industry custom and practice), my opinion


29
   In contrast, Ms. Kisch conceded during her deposition that she has no experience at all with RMBS
trusts or trustees.
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                       does not address that aspect of her report because I understand it is not

                       permissible for an expert report to opine on the law (and not because I

                       agree with her).

7.      THE TYLER REPORT CONFLATES AND/OR MISCONTRUES THE ROLES
        OF THE SERVICER, ISSUER, AND TRUSTEE.

               7.1     I have reviewed the report and deposition testimony of Deavay Tyler, an

                       executive vice president and chief financial officer of a property

                       preservation and maintenance company.

               7.2     Mr. Tyler opines on the roles of property owners, broker or listing agents,

                       and preservation and maintenance vendors in REO maintenance. Because

                       the Trustees hold legal title to the property, he assumes trustees play the

                       same role in all respects as an ordinary property owner with which he is

                       familiar. Mr. Tyler disregards the fact that title to the property is held in the

                       name of the Trustees solely for the benefit of “XYZ Trust [and the

                       Certificateholders].” As explained above (¶4.9), trustees (including the

                       Trustees here for the Trusts) have no economic interest in the Trusts’

                       property,30 and the agreements under which trustees agree to hold title

                       typically state that servicers, not trustees, agree to perform the servicing

                       functions that Mr. Tyler assumes belong to the Trustees. Mr. Tyler’s

                       confusion is understandable given his inexperience, by his own admission,

                       with RMBS transactions and deal party roles.31 Accordingly, his

                       explanation of the customary role of the owner is inapplicable to the facts


30
   As explained in ¶ 4.27, trustee compensation may be paid from the cashflows and that is their sole
economic interest in the trust property.
31
   See Tyler Dep. 49:3-18; 283:3-284:8.
                                                    50
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                  of this case—which involves trustees’ and servicers’ performance of their

                  distinct duties on behalf of RMBS trusts (and its beneficiaries).

           7.3    Given his misunderstanding of the role of an RMBS trustee, Mr. Tyler

                  ascribes responsibility, in part, for his observed “dysfunctionality” to

                  “Deutsche Bank’s demonstrated lack of interest in its REO portfolio.” He

                  goes further to state that “Deutsche Bank would rather have a servicer like

                  Ocwen make a wrong decision than for Deutsche Bank to get involved.”

                  (Tyler Report §4.) Mr. Tyler’s conclusions are misapplied as the Trustees’

                  practices are easily understood by persons familiar with RMBS transactions

                  and deal party roles. Consistent with industry custom and practice, trustees

                  perform only their required duties, and they exercise discretionary rights in

                  very limited circumstances (see ¶5.6 and ¶¶5.35-5.36 above), most

                  commonly if directed by investors who offer indemnity. In my experience,

                  a trustee administering RMBS trusts pursuant to governing agreements like

                  the Governing Agreements that I reviewed (listed on Exhibit A) would

                  have understood it was not required to perform loan servicing functions and

                  did not have a right to instruct Ocwen as to the manner by which it should

                  perform its duties.

           7.4    Mr. Tyler’s failure to account for securitization also leads him to

                  misconstrue the Trustees’ adherence to the customary practices of RMBS

                  trustees (i.e., not “hav[ing]a presence in the process to ensure the value of

                  the underlying investment (in this case, the homes) is being protected,

                  properly managed, and properly serviced” as a “demonstrated lack of



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                                         EXHIBIT A

Court Filings
    Second Amended Complaint Dated May 8, 2019 (Dkt. No. 70)
    Memorandum Opinion and Order Dated November 13, 2019 (Dkt. No. 97)
    Responses and Objections of Defendants Deutsche Bank National Trust Company, as
       Trustee, and Deutsche Bank Trust Company Americas, as Trustee, to Plaintiffs’ First Set
       of Interrogatories Dated August 17, 2020
    Responses and Objections of Defendants Deutsche Bank National Trust Company, as
       Trustee, and Deutsche Bank Trust Company Americas, as Trustee, to Plaintiffs’ Second
       Set of Interrogatories Dated October 1, 2020

Deutsche Bank Depositions
    Transcript for Rule 30(b)(6) Deposition by Ronaldo Reyes – Subject 1 Dated August 04,
      2021
    Transcript for Rule 30(b)(6) Deposition by Ronaldo Reyes – Subject 3-Vol I Dated
      August 4, 2021
    Transcript for Rule 30(b)(6) Deposition by Ronaldo Reyes – Subject 3-Vol II Dated
      August 4, 2021
    Transcript for Rule 30(b)(6) Deposition by Ronaldo Reyes – Subject 8-Vol I Dated
      December 8, 2021
    Transcript for Rule 30(b)(6) Deposition by Ronaldo Reyes –– Subject 8-Vol II Dated
      December 8, 2021
    Transcript for Deposition of David Co Dated April 7, 2022

Deutsche Bank Documents
    Policies and Procedures Revised 2012 (DB_NFHA00121148)
    Document Review Guides (DB_NFHA00307308); (DB_NFHA00307349);
      (DB_NFHA00307418); (DB_NFHA00307460)
    Document Review Outlines (DB_NFHA00307398); (DB_NFHA00307406);
      (DB_NFHA00307505); (DBNFHA_00307513); (DB_NFHA00307521)
    Document Review Procedures – Corporate Trust US Dated October 1, 2015
      (DB_NFHA00307390); Dated October 3, 2016 (DB_NFHA00307394); Dated October 2,
      2017 (DB_NFHA00307414); Dated January 16, 2018 (DB_NFHA00307501)
    Trust & Agency Services Americas Corporate Trust Transaction Management and
      Defaults Group Document Outline (DB_NFHA00307459)

Governing Agreements
    Aames Mortgage Investment Trust 2005-4 Indenture Dated September 1, 2005
      (DB_NFHA00000652)
    Ames Mortgage Investment Trust 2005-4 Transfer & Servicing Agreement Dated
      September 1, 2005 (DB_NFHA00000719)
    Aames Mortgage Investment Trust 2005-4 Trust Agreement Dated September 6, 2005
      (DB_NFHA00000645)


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      American Home Mortgage 2007-5 Pooling & Servicing Agreement Dated June 1, 2007
       (DB_NFHA00025803)
      Bravo Mortgage Asset Trust (BMAT) 2006-1 Pooling & Servicing Agreement Dated
       April 1, 2006 (DB_NFHA00027375)
      CDC Mortgage Capital Trust 2003-HE4 Pooling & Servicing Agreement Dated
       November 1, 2003 (DB_NFHA00030814)
      HarborView Mortgage Loan Trust 2006-8 Dated August 1, 2006 (DB_NFHA00169325)
      INDYMAC Mortgage Loan Trust 2006-AR7 Pooling & Servicing Agreement Dated
       March 1, 2006 (DB_NFHA00200275)
      IXIS Real Estate Capital Trust 2005-HE3 Pooling & Servicing Agreement Dated August
       1, 2005 (DB_NFHA00079852)
      Long Beach Mortgage Loan Trust 2006-7 Pooling & Servicing Agreement Dated August
       1, 2006 (DB_NFHA00300013)
      Saxon Asset Securities Trust 2005-3 Indenture Dated September 1, 2005
       (DB_NFHA00134509)
      Saxon Asset Securities Trust 2005-3 Sale & Servicing Agreement Dated September 1,
       2005 (DB_NFHA00117410)
      Soundview Home Loan Trust 2006-EQ2 Dated May 1, 2007 (DB_NFHA00042371)

Plaintiffs’ Experts
     Expert Report of Pamela A. Kisch, Executive Director Fair Housing Center of Southeast
        & Mid Michigan
     Transcript for Deposition by Pamela Kisch Dated December 19, 2022
     Expert Report of Deavay Tyler, DTJ Consulting Ltd.
     Transcript for Deposition by Deavay Tyler Dated December 12, 2022




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                                          EXHIBIT B

                                         EVE D. KAPLAN

                                         CONSULTANT
Accomplished and impactful corporate trust professional with extensive securitization experience,
including negotiating contractual provisions and ongoing administration of broad variety of
transactions. Proven record of success collaborating with in-house counsel, outside counsel,
business managers and risk management to identify and address contractual and industry-related
risks, litigation matters and compliance with regulatory requirements.

                                   AREAS OF EXPERTISE
  Leadership | Relationship Management | Business Growth & Consolidation | Change Agent |
      Securitization Structures | Negotiate Contracts | Trust Administration & Operations

                                           Experience

U.S. Bank National Association
Corporate Trust / Structured Finance Group

Contract Work, January 2022 – June 2022
Provided transitional support to structured finance business managers related to activities below.

Disputes and Portfolio Risk, June 2017 – December 2021
Coordinated and managed business line activities with internal and outside counsel across a variety
of disputes, including litigation, associated with RMBS and other similar transactions.
 Oversaw a group of 20+ employees including hiring, coaching, and evolution of specialized
    functions.
 Managed elevated risk issues decreasing the financial and reputational risk to the business.
 Targeted portfolio review to assess risk and develop actions plans to tackle potential issues.
 Evolved business processes to address market and regulatory developments.
 Strategized and coordinated action plans to support the business in navigating LIBOR
    cessation.

Structured Finance Group Manager, June 2006 – May 2017
Managed division responsible for delivery of trustee & agency services for mortgage and asset
backed securities (MBS & ABS).
 Oversaw a group of 250+ employees across six sites administering over 7000 appointments
   and consistently delivered strong financial results.
 Managed and acted in a number of roles and functions over the years, which included
   relationship management, account acceptance, contract negotiation & onboarding, account
   administration, investor reporting and cash management, Regulation AB compliance, backup
   servicing, and other support functions.
 Headed and coordinated business line activities with the internal and outside counsel across a
   variety of disputes, including litigation, associated with RMBS or similar transactions
   mitigating financial and reputational risk.

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   Worked with business development officers and marketing group to expand client base through
    developing leads, providing subject matter expertise, and creating requests for proposals for
    opportunities in the MBS, ABS, and government sectors.
   Led project team, including external consultants and outside counsel, to develop and
    implement internal processes to support the bank’s contractual obligations related to SEC
    Regulation AB.
   Actively participated in industry trade groups on issues arising from new or updated
    regulations, market developments or emerging developments that involve, in part, the role
    played by MBS & ABS trustees.

ADDITIONAL ROLES

Senior Account Manager/Team Leader
Account Manager
Operations Manager
Human Resources Generalist

                             PROFESSIONAL ASSOCIATIONS

Structured Finance Association
             Board of Directors, July 2016 – June 2020
             Co-Chair of the Trustee Committee, 2015 – 2020

American Bankers Association
            Member of Corporate Trust Committee, 2010 – 2021
            Ex-Officio Member of Corporate Trust Committee July 2022 to present

                                         EDUCATION

Washington University, St. Louis, MO
George Warren Brown
Master of Social Work, MSW

Washington University, St. Louis, MO
Arts & Sciences
Bachelor of Arts, A.B.




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